Case 1:18-cv-00341-TSE-IDD Document 33 Filed 07/17/18 Page 1 of 8 PageID# 275



                        UNITED STATES DISTRICT COURT
                     for the EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

 ROBERT GONZALEZ

               PLAINTIFF,

 V.                                              NO. 1:18-CV-00341-TSE-IDE

 RAJESH PAVITHRAN AND KELVIN
 BOON, LLC,

               DEFENDANTS.


                           JOINT CASE MANAGEMENT
                       STATEMENT AND RULE 26(f) REPORT

       Pursuant to Fed. R. Civ. P. (“Rule”) 26(f), the parties met and conferred by telephone

on Monday, July 16, 2018. Cameron Heaps Ippolito and Steven M. Oster attended on behalf

of Plaintiff Robert Gonzalez and Matthew Indrisano participated on behalf of defendants

Rajesh Pavithran and Kelvin Boone, LLC (the “Defendants”). The parties submit this Joint

Case Management Statement and Rule 26(f) Report pursuant to the federal and local rules of

this Court.

1. JURISDICTION & SERVICE

This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because the Plaintiff

and Defendants are citizens of different states. All parties have been served.

2. FACTS

Plaintiff’s Allegations: In approximately 2017, Plaintiff alleges Defendant Kelvin Boon,

LLC (the “Company”), hired Plaintiff to perform certain services in connection with the

Company’s Initial Coin Offering (“ICO”) in return for a payment of $700,000 (the
Case 1:18-cv-00341-TSE-IDD Document 33 Filed 07/17/18 Page 2 of 8 PageID# 276



“Agreement”). The Company is a single member LLC owned by Defendant Rajesh

Pavithran. Plaintiff alleges Pavithran fraudulently induced him to enter into the oral

agreement. Plaintiff performed the Agreement between August 2017 and January 2018.

Plaintiff did not receive any payment for his services. Plaintiff claims that he is entitled to

damages, statutory penalties, and attorneys’ fees for fraud, breach of contract, promissory

estoppel, breach of the implied covenant of good faith and fair dealing, and quantum meruit.

Defendants’ Response: Defendants deny any and all liability for the acts and/or omissions

alleged by the Plaintiff.

3. LEGAL ISSUES

       A.      Whether Pavithran is liable for the acts/omissions of the Company because he

       personally participated in them and/or because he and the Company are alter egos of

       each other.

       B.      Whether the oral agreement is an enforceable contract.

       C.      Whether Pavithran fraudulently induced the Plaintiff to enter into the

       Agreement by promising payment that he knew the Company would not make.

       D.      Whether Defendants intended that Plaintiff rely on the promise to pay such that

       they should be estopped from denying the promise, since Plaintiff reasonably relied on

       the promise to his detriment by performing the tasks.

       E.      Whether Plaintiff conferred substantial benefits on Defendants, such that it

       would be inequitable and unjust for Defendants to retain said benefits without paying

       Plaintiff for them.




                                              ‐2‐
Case 1:18-cv-00341-TSE-IDD Document 33 Filed 07/17/18 Page 3 of 8 PageID# 277



       F.     If Plaintiff prevails on some or all of his claims, whether he is entitled to

       reasonable attorneys’ fees pursuant to Texas. Civ. & Rem. Code §§ 38.001(1), (2), or

       (8) since his claim is for rendered services, performed labor, and breach of an oral

       contract.

4. MOTIONS

 Defendants filed motions to dismiss the Complaint and First Amended Complaint.

 Defendants’ initial motion to dismiss was granted. Defendant Rajesh Pavithran’s motion to

 dismiss the First Amended Complaint was denied. Both Plaintiff and Defendants anticipate

 filing motions for summary judgment after the close of discovery.

5. AMENDMENT OF PLEADINGS

 Deadline for amendment of pleadings/adding new parties: September 30, 2018.


6. EVIDENCE PRESERVATION

The parties have discussed the scope of anticipated discovery, including discovery of

electronically stored information (“ESI”). The parties have conferred pursuant to Rule 26(f)

regarding reasonable and proportionate steps to preserve evidence relevant to the issues

reasonably evident in this action. The Parties have discussed and anticipate agreeing on

protocols for the production of ESI.

7. PRIVILEGE CLAIMS

The parties recognize that they may inadvertently disclose privileged material in the course of

litigation. To mitigate the damage caused by the inadvertent production of privileged

information, the parties agree to the following claw-back procedure:




                                            ‐3‐
Case 1:18-cv-00341-TSE-IDD Document 33 Filed 07/17/18 Page 4 of 8 PageID# 278



   a. If at any time the Disclosing Party discovers that it has disclosed Inadvertently

      Disclosed Information, it shall, as soon as practicable:

      1. Notify all parties in writing of the inadvertent disclosure.

      2. Identify all Inadvertently Disclosed Information.

   b. Upon receiving the Disclosing Party's notice, the receiving party shall within five

      business days:

      1. Return, destroy, sequester, or delete all copies of the Inadvertently Disclosed

          Information.

      2. Take reasonable steps to retrieve the Inadvertently Disclosed Information if it was

          disseminated by the receiving party prior to such notification.

      3. Provide a certification of counsel that all such information has been returned,

          destroyed, sequestered, or deleted.

   c. Even if the receiving party objects (or intends to object) to the Disclosing Party's

      privilege or protection claim, it shall refrain from any further use, disclosure, or

      dissemination of the Inadvertently Disclosed Information in any way (including, but

      not limited to, using the information at depositions or trial) until the Court rules on the

      privileged or protected status of the Inadvertently Disclosed Information.

   d. The Disclosing Party must preserve the Inadvertently Disclosed Information until

      either:

      1. All receiving parties concede that it is privileged or protected.

      2. The Court resolves any disputes as to whether the Inadvertently Disclosed

          Information is privileged or protected.



                                            ‐4‐
Case 1:18-cv-00341-TSE-IDD Document 33 Filed 07/17/18 Page 5 of 8 PageID# 279



7. INITIAL DISCLOSURES

The parties have agreed to exchange initial disclosures pursuant to the requirements of Rule

26(a)(1) on or before July 27, 2018.

8. DISCOVERY

 Neither side believes any changes to the discovery limits in Federal and Local Rules are

 necessary.

9. RELATED CASES

None.

10. CLASS ACTION

Not applicable.

11. COMPLEX CASE

Not applicable.

12. RELIEF

Plaintiff seeks the following relief from the Court:

        A.    For breach of contract, $700,000;

        B.    Alternatively, for promissory estoppel, $750,000;

        C.    Alternatively, for quantum meruit or unjust enrichment, $750,000;

        D.    An order enjoining Defendants to remove all references to Plaintiff and

Plaintiff’s company from public communications including Boon Tech’s web site;

        E.    Attorneys’ fees and litigation expenses;

        F.    Costs; and

        G.    Prejudgment interest at the statutory rate.



                                             ‐5‐
Case 1:18-cv-00341-TSE-IDD Document 33 Filed 07/17/18 Page 6 of 8 PageID# 280



Defendant denies Plaintiff is entitled to any relief.

13. SETTLEMENT AND ADR

 The parties request a settlement conference before Judge Davis upon completion of

 sufficient discovery to determine the relative strength of their respective cases.

14. CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES

 The parties have NOT consented to proceeding before a Magistrate Judge for all matters.

15. SCHEDULING

Rule 26(a)(1) disclosures                                               July 27, 2018

Fact Discovery Cut-off Date                                             November 16, 2018

Dispositive Motions Deadline                                            December 4, 2018

Notice Dispositive Motion Hearing                                       January 11, 2019

Final Pretrial                                                          February 14, 2019

16. TRIAL

Plaintiff has demanded a jury trial. The parties anticipate needing three trial days.

17. OTHER MATTERS

None.

                                [Signatures appear on following page]




                                               ‐6‐
Case 1:18-cv-00341-TSE-IDD Document 33 Filed 07/17/18 Page 7 of 8 PageID# 281



July 17, 2018                                    Respectfully submitted,

 /s/ Cameron Heaps Ippolito                      Warner Franklin Young III *
 Cameron Heaps Ippolito (VSB 35831)              Warner Franklin Young III
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                                                 Attorneys for Defendants Rajesh Pavitrhan and
                                                 Kelvin Boon, LLC

                                                                * Signed   with permission.




                               CASE MANAGEMENT ORDER

       The above Joint Case Management Statement & Proposed Order is approved as the

Case Management Order for this case and all parties shall comply with its provisions.

                IT IS SO ORDERED this __ day of July 2018.



                                                    ____________________________
                                                    IVAN D. DAVIS
                                                    United States Magistrate Judge




                                           ‐7‐
Case 1:18-cv-00341-TSE-IDD Document 33 Filed 07/17/18 Page 8 of 8 PageID# 282



                             CERTIFICATE OF SERVICE

       I certify that I filed the attached Joint R26 Report using the Court’s CM/ECF system

and thereby served counsel of record.

July 17, 2018                                           /s/ Cameron Heaps Ippolito
                                                        Cameron Heaps Ippolito




                                          ‐8‐
